UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 United States of America,

                                                                     1: /1-,T-00z1-71-PK-C

                  v.                                       AFFIDAVIT IN SUPPORT OF
                                                         MOTION FOR ADMISSION PRO HAC
 Anthony Stimler,                                                    VICE

                        Defendant.



County of tiontgomcry          )
                               )
State of   Maryland


I, Nadav Ariel, being duly sworn, hereby deposes and says as follows:

    I. I have never been convicted of a felony.

   2. I have never been censured, suspended, disbarred or denied admission or readmission by

       any court.

   3. There are no pending disciplinary proceedings presently against me in any State or

       r euerai


       Dated: July27th, 2021                /1044/r. fri`wl/
                                                     Nadav Ariel
                                                     Buckley LLP
                                                     2001 M Street NW, Suite 500
                                                     Washington, DC 20036
                                                     Tel: 202-349-8012
                                                     Fax: 202-349-8080
                                                     nariel@buckleyfirm.com

       Subscribed and sworn to before me this     27th       of July, 2021.


                                                         see attached for notary certificate
                                                     Notary Public
                                                                                  JURAT




           State/Commonwealthof                                 FLORIDA

          city                County         of                 Miami Dade


           On                07/27/2021                , before me,                Mario Heredia
                                Date                                                          Notary Name
                   the foregoing instrument was subscribed and sworn (or affirmed) before me by:
                                                                   Nadav Ariel

                                                                 Name of Affiant(s)

           0       Personally known to me -- OR --

           0       Proved to me on the basis of the oath of                                                           -- OR --
                                                                                 Name of Credible Witness
           Yr Proved to me on the basis of satisfactory evidence:                                   driver license
                                                                                                Type ofID Presented




     „\\1\1i11111110/               MARIO HEREDIA                  WITNESS my hand and official seal.
 ..•:-.4..z.0 JA‘ CI;        Notary Public - State of Florida
a.-- .
"1
                111111
    - 1" . ,..,.__ .;.         Commission # HH61204               Notary Public Signature:            4
 -s--
   ;-        4AI:o e. :.--      Expires on November 8. 2024
        \ :F
                                                                  Notary Name:             Mario Heredia
                                                                  Notary Commission Number:            HH61204
                                                                  Notary Commission Expires: 11/08/2024
                                                                  Notarized online using audio-video communication


       DESCRIPTION OF ATTACHED DOCUMENT

        Title or Type of Document: Affidavit in Support of Motion for Admission

         Document Date:                         07/27/2021

         Number of Pages (including notarial certificate):                                2
